    Case 1:25-cv-03680-AMD-JAM                     Document 16        Filed 07/21/25     Page 1 of 3 PageID #: 55

AO 440 (Rev. 06/12) Summons in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                           for the
                                                 Eastern District
                                                __________ DistrictofofNew  York
                                                                        __________

                                                                     )
        789 MACDONOUGH STREET HOUSING                                )
        DEVELOPMENT FUND CORPORATION,                                )
                   Plaintiff                                         )
                      v.                                             )
                                                                     )
MOLLY WASOW PARK, AS THE COMMISSIONER                                )        Civil Action No. 1:25-cv-03680
  OF SOCIAL SERVICES OF THE CITY OF NEW                              )
   YORK; JUSTICE MARIA ARAGONA, IN HER
                                                                     )
OFFICIAL CAPACITY; THE CITY OF NEW YORK;
                                                                     )
       NEW YORK CITY DEPARTMENT OF
  INVESTIGATION; JOCELYN E. STRAUBER IN                              )
 HER OFFICIAL CAPACITY AS COMMISSIONER                               )
   OF THE NEW YORK CITY DEPARTMENT OF                                )
      INVESTIGATION; and EMMA OLIVER,                                )
                 Defendants                                          )


          To:      All Defendants (see attached rider)

                    A lawsuit has been filed against you.

                  Within 21 days after service of this summons on you (not counting the day you received
          it) — or 60 days if you are the United States or a United States agency, or an officer or employee
          of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the
          plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
          Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
          whose name and address are:
                                                        Gregory Byrnes
                                                        Anderson Law, 104 W 27th Street, 11th Floor,
                                                        New York, New York 10001
                                                        Gregory@andersonlaw.nyc
                                                        (212) 466-6570

         If you fail to respond, judgment by default will be entered against you for the relief demanded in
         the complaint. You also must file your answer or motion with the court.

                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT


          Date:
                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                    , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                          ; or

           ’ Other (specify):
                                                                                                                                        .


           My fees are $                           for travel and $                  for services, for a total of $                     .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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                                  Defendants’ Names and Addresses

Molly Wasow Park, Commissioner of Social Services of the City of New York
109 E 16th St
New York, NY 10003

Justice Maria Aragona
360 Adams Street
Brooklyn, NY 11201

The City of New York
100 Church Street
New York, NY 10007

New York City Department of Investigation
180 Maiden Lane
New York, NY 10038

Jocelyn E. Strauber, Commissioner of the New York City Department of Investigation
180 Maiden Lane
New York, NY 10038

Emma Oliver
789 Macdonough Street, 1C
Brooklyn, NY 11233
